Case 2:04-cV-02620-.]DB-tmp Document 44 Filed 06/22/05 Page 1 of 5 Page|D 43

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FoR THE wEsTERN DISTRICT oF TENNESSEEOS JUH 22 PH{Zf U'
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MEMPHIS PUBLISHING co.. V -. .
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Plaintiff,
v.

04 CV 2620 B/P

NEWSPAPER GUILD OF MEMPHIS,
LOCAL 33091,

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Defendant.

 

ORDER DENYING PLAINTIFF'S MO'I'ION TO HAVE ITS FIRST REQUEST FOR
ADMISSIONS DEEMED ADMITTED AN'D
GRANTING DEFEN'DANT'S MO'I'ION TO AMEND

 

Before the court is plaintiff Memphis Publishing Company d/b/a
The Commercial Appeal's (“MPC”) Motion to Have its First Request
for Admissions of Newspaper Guild of Memphis, Local 33091 Deemed
Admitted, filed May 19, 2005 (dkt #34). On June 2, 2005, defendant
Newspaper Guild of Memphis, Local 33091 (“NGM”) filed its response,
styled Opposition to Plaintiff's Motion to Deem First Requests for

Admissions Deemed Admitted or, Alternatively, Motion to Amend or

Withdraw Its Admissions (dkt #36). For the reasons below,
plaintiff’s motion is DENIED. Defendant’s motion to amend is
GRANTED .

I . BACKGROUND

On February 19, 2005, plaintiff served the defendant with
Plaintiff’s First Requests for Admissions, Plaintiff's First Set of

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with Rule 58 and/or 79(a) FRCP on 0 'ZZ£L\’ j[§[

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Interrogatories, and Plaintiff's First Request for Production of
Documents. On March 22, 2005, plaintiff received a box of
documents fron1 the defendant. Plaintiff claims that the box
contained various documents, none of which were responsive to any
of plaintiff’s discovery' requests, including the requests for
admissions. Defendant contends, however, that the box sent to the
plaintiff on March 22 did, in fact, contain the defendant’s
discovery responses and responses to the requests for admissions.
Both parties, as part of the present motion, have filed affidavits
in support of their respective positions.

On April 18, 2005, plaintiff sent the defendant a letter
requesting that defendant respond to the discovery requests. On
that same date, the defendant sent to the plaintiff via facsimile
(and followed up via overnight delivery) responses to all discovery
requests. Plaintiff contends that the cover letter contained in
the box of documents received on March 22 was different from the
letter faxed to the plaintiff on April 18. In its response, the
defendant asserts that the discovery box sent on March 22 contained
two letters, both dated March 21. As set forth in the attached
affidavits, the first letter made reference to the formal written
discovery responses, and the second letter made reference to the
other discovery requests.

II. ANALYSIS
As a threshold matter, it is unclear whether the box of

documents sent to the plaintiffs on March 22 contained the

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responses to plaintiff's requests for admissions and other
discovery requests. However, even assuming that the box did not
contain the responses, based on the court's review of the record,
including the competing affidavits filed by the parties, the court
concludes that any omission was, at most, inadvertent.
Rule 36(a) provides that a “matter is admitted unless, within
30 days after service of the request, . . . the party to whom the
request is directed serves” a written answer or objection upon the
requesting party. Pursuant to Rule 36(b), “any matter admitted
is conclusively established unless the court on motion permits
withdrawal or amendment of the admission.” Fed. R. Civ. P. 36(b).
The Rule further explains that the court may permit withdrawal or
amendment “when the presentation of the merits will be subserved
thereby and the party who obtained the admission fails to satisfy
the court that withdrawal or amendment will prejudice that party in
maintaining the action or defense on the merits.” ld;i see also
Kerrv Steel, Inc. v. Paragon Indus., Inc., 106 F.3d 147, 154 (6th
Cir. 1997); Dvnastv Apparel Indus. v. Rentz, 206 F.R.D. 596, 601-02
(S.D. Ohio 2001); Herrin v. Blackman, 89 F.R.D. 622, 624 (W.D.
Tenn. 1981). The prejudice that the party' who obtained the
admission must show “relates to special difficulties a party may
face caused by a sudden need to obtain evidence upon withdrawal or
amendment of an admission.” American Auto Ass’n v. AAA Leqal
Clinic of Jefferson Crooke, P.C., 930 F.2d 1117, 1120 (5th Cir.

1991).

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The first prong is satisfied when the admissions would
“practically eliminate” the presentation of the contested issue by
the parties. See Lovejov v. Owens, No. 94-4224, 1996 WL 287261, at
*2 (6th Cir. May 28, 1996). Based upon the court's review of the
requests for admissions, there are several contested issues, and
allowing the defaulted admissions to stand would result in
eliminating the presentation of these contested issues. This
prong, therefore, is satisfied.

The second prong is only satisfied, however, if the plaintiff
can show that it would suffer prejudice in the event the court
allowed the defendant to amend or withdraw the admissions. Nothing
in the record before the court sufficiently demonstrates that
plaintiff would be prejudiced by amendment of the admissions.
Because the plaintiff has not satisfied the second prong of the
Rule 36 analysis, the court DENIES plaintiff’s motion and GRANTS
defendant’s motion.

IT IS SO ORDERED.

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TU M. PHAM
United States Magistrate Judge

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Date

 

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